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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )   CIVIL ACT. NO. 3:19-mc-3859-ECM
                                           )
U-SAVE CAR AND TRUCK RENTAL,               )
                                           )
       Garnishee                           )
                                           )
MARTIN STOKES,                             )
                                           )
       Defendant.                          )

                                      ORDER

       Upon consideration of the motion to dismiss (doc. 4) filed on March 7, 2019, and

for good cause, it is

       ORDERED that the motion to dismiss (doc. 4) be and is hereby GRANTED and the

Writ of Garnishment be and is hereby DISMISSED.

       The Clerk of the Court is DIRECTED to close this matter.

       DONE this 8th day of March, 2019.



                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
